        Case 1:25-cv-10912-ADB            Document 34         Filed 04/16/25   Page 1 of 2




                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

 ASSOCIATION OF AMERICAN                             *
 UNIVERSITIES, et al.,                               *
                                                     *
                 Plaintiffs,                         *
                                                     *
                 v.                                  *        Civil Action No. 25-cv-10912-ADB
                                                     *
 DEPARTMENT OF ENERGY et al.,                        *
                                                     *
                 Defendants.                         *
                                                     *

                         ORDER GRANTING PLAINTIFFS’
                 MOTION FOR A TEMPORARY RESTRAINING ORDER

BURROUGHS, D.J.

        For purposes of Federal Rule of Civil Procedure 65(b), the Plaintiffs have made a

sufficient showing that they have provided notice to Defendants and that, unless their Motion for

a Temporary Restraining Order (“TRO”), [ECF No. 3 (the “Motion”)], is granted, they will

sustain immediate and irreparable injury before there is an opportunity to hear from all parties.

Thus, a TRO is justified to preserve the status quo pending a hearing and the Plaintiffs’ Motion is

GRANTED.

        Defendants and their officers, employees, servants, agents, appointees, and successors are

hereby enjoined from implementing, instituting, maintaining, or giving effect to the DOE Policy

Flash: Adjusting Department of Energy Grant Policy for Institutions of Higher Education (IHE)

(the “Rate Cap Policy”) in any form; from otherwise modifying negotiated indirect cost rates

except as permitted by statute and by the regulations of the Office of Management and the

Budget; and from terminating any grants pursuant to the Rate Cap Policy or based on a grantee’s

refusal to accept an indirect cost rate less than their negotiated rate.
        Case 1:25-cv-10912-ADB            Document 34      Filed 04/16/25      Page 2 of 2




        The Court further orders that (1) within 24 hours of entry of this Order, Defendants must

provide written notice of the Order to all funding recipients affected by the Rate Cap Policy and

(2) Defendants must notify the Court that they have done so within 48 hours of entry of this

Order. Defendants shall additionally file status reports at biweekly intervals thereafter to

confirm the regular disbursement and obligation of federal financial assistance funds for so long

as the terms of the TRO remain in effect.

        Defendants’ opposition to the Motion is due by Tuesday, April 22, 2025. Plaintiffs may

file a reply brief, limited to ten pages in length, by Friday, April 25, 2025. Counsel shall appear

in-person for a hearing on the Motion at 11:00 AM on Monday, April 28, 2025.

        This TRO shall become effective immediately upon entry by this Court. It shall remain

in effect until further order of this Court.

        SO ORDERED.

April 16, 2025                                               /s/ Allison D. Burroughs
                                                             ALLISON D. BURROUGHS
                                                             U.S. DISTRICT JUDGE




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